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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


   UNITED STATES, et al.,

                          Plaintiffs,
          v.
                                                       No: 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                          Defendant.


            NON-PARTY LINKEDIN CORPORATION’S MOTION TO REDACT
         Pursuant to Local Rule 5(C) and the Court’s June 24, 2024 Order, ECF No. 871, non-party

  LinkedIn Corporation (“LinkedIn”) respectfully moves this Court to redact DTX 1991 and fully

  redact or seal DTX 2221, which are included on Google’s exhibit list, and contain competitively

  sensitive and highly confidential revenue data and customer account information. See ECF No.

  894. LinkedIn further requests that the competitively sensitive and highly confidential LinkedIn

  data not be shown on public screens at trial and that any testimony discussing or relating to the

  underlying data be conducted in closed session.



   Dated: July 26, 2024                         Respectfully submitted,
                                                s/ John (Jay) Jurata, Jr.
                                                John (Jay) Jurata, Jr. (VA Bar No. 46314)
                                                DECHERT LLP
                                                1900 K Street NW
                                                Washington, DC 20006
                                                Telephone: +1 (202) 261-3300
                                                jay.jurata@dechert.com

                                                Attorney for Non-Party LinkedIn Corporation
